                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


    ANNE PATRICIA MULLIGAN,
                             Plaintiff,
          vs.
                                                    Case No. 3:19-cv-00119-RRB
    APD, et al.,

                             Defendants.


                                   ORDER OF DISMISSAL

            Anne Patricia Mulligan, representing herself, filed a Civil Rights Complaint

under 42 U.S.C. § 1983, and an Application to Waive Prepayment of the Filing Fee

under 28 U.S.C. § 1915. 1 The Court reviewed the Complaint, 2 explained the

deficiencies to Ms. Mulligan, and issued a Screening Order permitting her to file an

Order to Show Cause on or before July 22, 2019. 3

            Despite being warned that the Court would dismiss her case unless she fully

complied with the Order, 4 Ms. Mulligan has filed nothing further in this case.


            IT IS THEREFORE ORDERED:

1.          This case is DISMISSED, without prejudice.


1   Dockets 1, 3.
2   See 1915(e)(2)(B).
3   Docket 8 at 10.
4   Id.




                Case 3:19-cv-00119-RRB Document 9 Filed 07/25/19 Page 1 of 2
2.     Any outstanding motions are DENIED.

3.     The Clerk of Court is directed to enter a Judgment in this case.


       DATED at Anchorage, Alaska, this 25th day of July, 2019.

                                             /s/ Ralph R. Beistline
                                             Senior United States District Judge




3:19-cv-00119-RRB, Mulligan v. APD, et al.
Order of Dismissal
Page 2 of 2

         Case 3:19-cv-00119-RRB Document 9 Filed 07/25/19 Page 2 of 2
